Case 5:22-cv-00094-JWH-SHK Document 45-4 Filed 01/25/22 Page 1 of 6 Page ID #:444

   Case 5:22-cv-00094-JWH-SHK Document 31-2 Filed 01/15/22 Page 1 of 6 Page ID #:279




                                                                           Exhibit 2
Case 5:22-cv-00094-JWH-SHK Document 45-4 Filed 01/25/22 Page 2 of 6 Page ID #:445

   Case 5:22-cv-00094-JWH-SHK Document 31-2 Filed 01/15/22 Page 2 of 6 Page ID #:280




                                                                           Exhibit 2
Case 5:22-cv-00094-JWH-SHK Document 45-4 Filed 01/25/22 Page 3 of 6 Page ID #:446

   Case 5:22-cv-00094-JWH-SHK Document 31-2 Filed 01/15/22 Page 3 of 6 Page ID #:281




                                                                           Exhibit 2
Case 5:22-cv-00094-JWH-SHK Document 45-4 Filed 01/25/22 Page 4 of 6 Page ID #:447

   Case 5:22-cv-00094-JWH-SHK Document 31-2 Filed 01/15/22 Page 4 of 6 Page ID #:282




                                                                           Exhibit 2
Case 5:22-cv-00094-JWH-SHK Document 45-4 Filed 01/25/22 Page 5 of 6 Page ID #:448

   Case 5:22-cv-00094-JWH-SHK Document 31-2 Filed 01/15/22 Page 5 of 6 Page ID #:283




                                                                           Exhibit 2
Case 5:22-cv-00094-JWH-SHK Document 45-4 Filed 01/25/22 Page 6 of 6 Page ID #:449

   Case 5:22-cv-00094-JWH-SHK Document 31-2 Filed 01/15/22 Page 6 of 6 Page ID #:284




                                                                           Exhibit 2
